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                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA
PERKINS COIE LLP,

                   Plaintiff,
                                                        Case No. 25-cv-716
      V.


UNITED STATES DEPARTMENT OF
JUSTICE, et al.,



                      Defendants.


                   Expert Report of Prof. Bruce A. Green
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       I, Bruce A. Green, declare and state as follows:

I.     INTRODUCTION

       A.     Qualifications

       l.     My qualifications to provide expert opinions on questions of lawyers’

professional conduct in this case are fully set forth in my curriculum vitae, which is

attached as Exhibit A.

       Zs     I received an A.B. from Princeton University and a J.D. from Columbia

University School of Law.

       3.     I served as a law clerk to both Justice Thurgood       Marshall   of the

Supreme Court of the United States and Judge James L. Oakes of the United States

Court of Appeals for the Second Circuit.

       4.     I was also an Assistant United States Attorney for the Southern District

 of New York, eventually serving as Deputy Chief and then Chief of the Criminal

 Division’s appeals unit.

       =      I have been a law professor at Fordham University since 1987.          At

 Fordham, I have regularly taught courses on lawyers’ professional responsibility.        I

 currently teach courses on both Professional Responsibility and Ethics in Criminal
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Advocacy.      Additionally, I co-author a casebook on professional responsibility for

contemporary legal practice.!

        6.      I have organized or co-organized numerous                    conferences       and other

programs for legal academics and practitioners on issues of lawyers’ professional

responsibility, and I speak frequently at Continuing Legal Education programs and

academic programs on this subject.

        7.      I have written extensively on the subject of lawyers’                        professional

conduct in both academic and professional publications.                    A list of my writings is

included in Exhibit A.

        8.     I have engaged extensively in professional work relating to lawyers’

professional     conduct,     much     of   it   involving     the     drafting,     interpretation,     or

enforcement of professional conduct rules.

       9.      On    the    national   level,    I currently    chair     both     the     American     Bar

Association Standing Committee on Ethics and Professional Responsibility and the

Multistate     Professional      Responsibility      Examination          drafting        committee.          I

previously chaired the ethics committees of both the American Bar Association

Litigation Section and the American Bar Association Criminal Justice Section as




' See Jefferson, Pearce, Green, et al., Professional Responsibility:     A Contemporary Approach (Sth
ed. 2023).
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well as the Section on Professional Responsibility of the Association of American

Law Schools.

         10.   Further, I am a past chair of the New York City Bar’s Committee on

Professional Ethics; I am a past chair and current member of the New York State

Bar Association’s Committee on Professional Ethics; I am a current member of the

New York State Bar Association’s Committee on Standards of Attorney Conduct;

and I am a member of the New York County Lawyers Association’s Committee on

Professional    Ethics.   I served   for six years on the Departmental           Disciplinary

Committee      of the New    York    State   Supreme   Court,   Appellate     Division,    First

Department.

         11.   Attached as Exhibit B is a list of the cases in which I have testified as

an expert at trial or by deposition in the last four years.

         12.   When serving as an expert witness in this case and others, I render

opinions in my individual capacity and do not speak on behalf of any of the entities

with which I am, or have been, associated.

         B.    Compensation Disclosure

         13.   Plaintiff Perkins Coie LLP is paying an hourly fee of $1,500 per hour

for the time I spend working on this Report and otherwise assisting counsel on this

case.    My compensation is not contingent on any outcome in this case.            The views

expressed herein are my own.
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       C.       Documents     Considered

       14.      Inconducting my analysis, I have considered President Trump’s March

6, 2025       “Executive    Order—Addressing   Risks    from   Perkins   Coie   LLP”    (the

“Executive Order”) and the accompanying Fact Sheet explaining the Executive

Order (the “Fact Sheet”).      I have also considered President Trump’s statement and

the subsequent Executive Orders referenced in paragraph 24, infra.

Il.    SUMMARY             OF OPINIONS

       15.       Counsel for Perkins Coie LLP (“Perkins Coie” or “the law firm”) has

retained me to provide an objective expert opinion regarding The Executive Order

and the Fact Sheet, and to opine on whether the Executive Order is consistent with

the regulation of the legal profession.

        16.      Counsel for Perkins Coie LLP has asked me to resubmit my declaration

of March 10, 2025 in the form of a report and with all information required to be

disclosed by Rule 26(a)(2).

        17.      The   Executive Order states that measures     are to be taken against

Perkins Coie, its personnel, and its clients because of conduct by Perkins Coie

lawyers in representing clients in litigation and extrajudicial advocacy disfavored by

the President.
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        18.   The Executive Order explicitly cites as justification the law firm’s

representation      of parties   in judicial     proceedings       challenging    “election     laws,

including those requiring voter identification.”

        19.   The Fact Sheet adds that “Perkins Coie LLP has filed lawsuits against

the Trump Administration, including one designed to reduce military readiness.”

This apparently refers to a lawsuit in which the law firm represents organizations

in an action involving the rights of certain military personnel.

       20.    The     Executive Order subjects Perkins Coie to various disabilities.

Among other things, the order directs executive agencies not to retain Perkins Coie

and   to “provide     guidance     limiting    official   access    from   Federal   Government

buildings to Perkins Coie lawyers” (presumably including federal courthouses).

       21.    Additionally,      the   Executive      Order     requires   federal   agencies      to

determine which federal contractors have sought the advice of or representation by

Perkins Coie, so that federal agencies can assess whether to cease doing business

with the law firm’s clients.

       22.    The Fact Sheet states that the Executive Order is designed in part “[t]o

ensure taxpayer dollars no longer go to contractors whose earnings subsidize

partisan lawsuits against the United States.”

       23.    Evidently, the Executive Order is to be the first of many.              After it was

issued, President Trump publicly stated, “We have a lot of law firms that we’re going

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to be going after.” The President has since issued at least three additional Executive

Orders regarding specific law firms (Paul, Weiss, Rifkind, Wharton & Garrison,

Jenner & Block LLP, and Wilmer Cutler Pickering Hale and Dorr LLP). Therefore,

besides having      a punitively harsh effect on Perkins             Coie   if implemented,       the

Executive Order will discourage other law firms from doing what Perkins Coie did:

representing clients and causes of which the current presidential administration

disapproves.

       24.     For the reasons discussed below, my opinion is that the Executive Order

is inconsistent with, and interferes with, settled understandings of the separation of

powers and, in particular, judicial regulation of the legal profession.

I.     OPINIONS

       A.      The_ Regulation    of the Legal     Profession Is Principally the
               Responsibility of the Judiciary, and Courts Afford Lawyers a Fair
               Process before      Punishing Lawyers for Misconduct.

       25.     Inthe United States, courts have principal responsibility for regulating

lawyers.

       26.     Regulating      lawyers      traditionally    has    been     understood      to    be

constitutionally entrusted to the states under the Tenth Amendment.’



> See Leis v. Flynt, 439 U.S. 438, 441 (1979) (“Since the founding of the Republic, the licensing
and regulation of lawyers has been left exclusively to the States and the District of Columbia within
their respective jurisdictions. The States prescribe the qualifications for admission to practice and
the standards of professional conduct. They also are responsible for the discipline of lawyers.”);

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       27.     Federal courts’ authority to discipline attorneys is limited: “[A] federal

court has the power to control admission to its bar and to discipline attorneys who

appear before it.”

       28.     State courts determine the standards for admission to practice law and

oversee the licensing processes, and federal courts largely piggyback on the state

licensing processes.

       29.     State courts adopt rules of professional conduct to regulate the lawyers

whom    they   license,   and   federal   courts       largely     adopt   the state-court   rules   of

professional conduct.

       30.     State courts also adopt and oversee disciplinary processes in which the

professional conduct rules are enforced, and some federal courts also implement

disciplinary processes     for lawyers     admitted        to practice before them.          In their

disciplinary processes, courts may disbar, suspend or otherwise sanction lawyers

who violate the courts’ professional conduct rules.

       31.     Lawyers who represent parties in court proceedings are also subject to

regulation by the judges before whom they appear.                    Courts may adopt applicable

rules and standards of conduct regulating lawyers in addition to those incorporated



see also New York State Bar Ass’n v. FTC, 276 F. Supp. 2d 110, 128-29 (D. D.C. 2003), aff'd, 430
F.3d 457 (D.C. Cir. 2005).

3 Chambers v. NASCO, Inc., 501 U.S. 32, 43 (1991).

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in professional conduct rules. Judges may enforce applicable rules and standards by

sanctioning lawyers who engage in misconduct in proceedings over which the judges

preside.

       32.    Courts afford lawyers a fair process before punishing them for alleged

misconduct under established professional rules and standards. Formal disciplinary

processes afford lawyers an opportunity to dispute allegations of misconduct in a

proceeding before a fair and impartial adjudicator.     Likewise, before judges may

sanction lawyers for litigation misconduct, the judges must afford lawyers notice

and an opportunity to be heard and must make a fair and impartial determination that

misconduct occurred.

       33.    In contrast to the judiciary’s role, the executive branch has had an

exceedingly limited role in regulating private lawyers.      Executive agencies may

adopt and enforce standards of conduct for lawyers appearing before those agencies

in agency proceedings, but the executive branch has no general regulatory authority

over lawyers. In particular, the federal executive branch has no authority to regulate

lawyers’ conduct in litigation generally, or in litigation against the Government in

particular.

       34.    Outside the regulation of lawyers in federal agency proceedings, the

federal executive branch has little regulatory authority over the bar not only because

regulating the bar is principally a state function and a judicial function but because

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lawyers routinely and properly represent private clients against the Government and

against executive officials and agencies.       The executive branch could not to be

expected to regulate fairly the very lawyers against whom it litigates.

          35.   The Executive Order is inconsistent with these principles in several

respects.

          36.   First, the Executive Order punishes a law firm and its lawyers (and their

clients) for conduct that is defined as improper and adjudicated as improper by an

executive branch official, not a federal or state court or a disciplinary authority under

a court’s jurisdiction.

          37.   Second, the alleged impropriety is not based on a preexisting legal

standard (or even on a standard articulated clearly after-the-fact in the Executive

Order).

          38.   Third, the Executive Order finds wrongdoing and imposes punishment

without prior notice, an opportunity to be heard, a fair and impartial factfinder, or

any other semblance of fair process.

          B.    Judicial Regulation Encourages Lawyers to Represent Disfavored
                Parties in Judicial Proceedings.

          39.   In the U.S., courts are established on the understanding that legal

disputes should be resolved in court, not by combat in the streets or other disruptive

or dangerous means.       This is especially true with regard to challenges to the laws.

Courts exist to resolve legal disputes about the laws. Courts are the ultimate arbiters
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of the meaning, application and constitutionality of statutes and regulations.                         Legal

actions that, in the words of the Fact Sheet, “threaten our elections, military strength,

and national security” (presumably because courts could apply the U.S. Constitution

to overturn the laws in question or limit their reach), are among the sorts of legal

actions that are entrusted to the courts to adjudicate.

       40.     When        parties   go    to court     to resolve      legal   disputes    — including

challenges     to the      constitutionality,    meaning,         or application     of laws    — courts

recognize that it is in the public interest for the parties to be represented by counsel.

       41.     The      common       law    governing        attorney-client    privilege   reflects     that

recognition.         The     privilege      protects        the   confidentiality    of     lawyer-client

communications        in part to encourage parties to retain counsel to assist in legal

disputes.    Judicial rules regulating lawyers likewise recognize the importance of

protecting lawyer-client relationships from interference and the importance of those

relationships to the proper functioning of the legal system.*

       42.     Judicial regulation of the legal profession recognizes, in particular, the

importance of affording legal assistance to unpopular clients.                      Although U.S. trial

lawyers, unlike their English counterparts, may decline clients who seek to retain



4 See, e.g., D.C. Rules of Professional Conduct (“D.C. Rules”), Rule 4.2; see also id., Rule 4.4(a)
& cmt. [1] (stating that the rule forbids “unwarranted intrusions into privileged relationships, such
as the client-lawyer relationship”).


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them, our legal profession has a “historical commitment to the principle that all

persons in our society should be able to obtain necessary legal services.”°>                This

commitment is incorporated in professional conduct rules encouraging lawyers to

undertake pro bono work and requiring lawyers to accept court appointments.°

These rules reflect the importance of lawyers’ availability to unpopular clients.”              It

would be fair to say, in fact, that our country was founded on this principle: Future

president John Adams’s             defense of the British soldiers involved in the Boston

Massacre, by his later account, “procured [him] Anxiety, and Obloquy enough,” but

was one of the best Pieces of Service [he] ever rendered [his] Country,” because, by

providing a zealous legal defense to despised defendants, the colonists demonstrated

their commitment to fair process and the rule of law.®

          43.   Professional conduct rules underscore the importance of affording legal

representation to unpopular clients by recognizing that “[a] lawyer’s representation




> DC. Rules, Rule 6.1, cmt. [1].

° Id.
T See id., Rule 6.2, cmt. [1] (“All lawyers have a responsibility to assist in providing pro bono
public service”); see also id. Rule 6.1 (“An individual lawyer fulfills this responsibility by
accepting a fair share of unpopular matters or indigent or unpopular clients. A lawyer may also
be subject to appointment by a court to serve unpopular clients . . ..”).

a     John     Adams,       Diary     Entry      (Mar.     5,     1773)    (available    at:
https://www.masshist.org/digitaladams/archive/doc?id=D 1 9#:~:text=I%20have %20Reason%20t
0%20remember,I%20ever%20rendered%20my%20Country).


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of a client,    including    representation    by     appointment,           does     not   constitute     an

endorsement of the client’s political, economic, social, or moral views or activities.”

This provision presupposes that: (1) lawyers are fully capable of pursuing clients’

lawful objectives even if the lawyers (or others) disapprove of the clients or their

causes; (2) clients’ views therefore should not be attributed to their lawyers; and (3)

parties with disfavored views should have access to legal representation.

       44,     The    Executive    Order    interferes     with       this    foundational       principle

embedded in the judicial regulation of the legal profession.                        Restricting lawyers’

availability to clients, or lawyers’ ability to bring legitimate claims and defenses on

clients’ behalf, based on whether the executive branch approves of the client or

cause, would, in the words of the Supreme Court, “distort[] the legal system by

altering the traditional role of the attorneys” in our democracy.'°

       45.     Likewise,     unjustified   restrictions      should      not be imposed           on     “the

freedom of clients to choose a lawyer.”!'           Indeed, in criminal cases, clients’ right to




° D.C. Rules, Rule 1.2(b).

'0 Legal Servs. Corp. v. Velazquez, 531 U.S. 533, 544 (2001).

'I D.C. Rules of Professional Conduct, Rule 5.6, cmt. [1].



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counsel of choice is protected by the Sixth Amendment right to counsel.'* It would

be prejudicial to the administration of justice for the Government to restrict clients’

choice      of counsel    by refusing    to negotiate   with    a disfavored    lawyer,    and   a

Government lawyer who did so would be subject to discipline.'°

          46.   Of course, lawyers are restricted from (and can be disciplined for)

making factually or legally frivolous arguments on behalf of clients in adjudicative

proceedings.'* But any restriction on creative or novel legal arguments is extremely

limited: Professional conduct rules specifically allow lawyers to make “a good-faith

argument for an extension, modification or reversal of existing law.”'>                   And, as

described above, it is the role of the judicial system, not the executive branch, to

adjudicate any violations of these rules of professional conduct.           In the actions cited

in the Executive         Order,   no court found Perkins       Coie’s   legal arguments     to be

frivolous, and the Executive Order does not suggest they were.                 On the contrary,

characterizing the actions as “dangerous” implies that they might prevail.




12 See United States v. Gonzalez-Lopez, 548 U.S. 140, 144 (2006) (“[A]n element of this right is
the right of a defendant who does not require appointed counsel to choose who will represent
him.”).

'3 See Matter of Rook, 556 P.2d 1351 (Ore. 1976).

'4 See, e.g., D.C. Rules, Rule 3.1.

1 Tad.

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        47.     In sum, judicial regulation recognizes that the public interest benefits

from the participation of skilled advocates on both sides of an action as well as from

lawyers’ role in providing legal advice and in assisting clients with other legal

matters.

        48.     The Executive Order is at odds with this regulation.       It will discourage

not only Perkins Coie but also other law firms from representing future clients and

pursuing future actions, and particularly actions against the Government and other

advocacy      that the President     might   disfavor.    Punishing    the law     firm   for its

representation of disfavored clients or causes is at odds with the traditions of the

U.S. legal system and with courts’ contemporary regulation of lawyers.

        C.      Lawyers Must Argue Their Clients’              Legal   Positions      Zealously
                Within the Bounds of the Law.

        49.      Professional conduct rules recognize that a lawyer must “represent a

client zealously and diligently within the bounds of the law,”'® and that this includes

a duty to “seek the lawful objectives of a client through reasonably available means

permitted     by law      and   the disciplinary rules.”'’     In criminal       cases,   zealous




16 D.C. Rules, Rule 1.3(a).
IT Td., Rule 1.3(b)(1).

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representation is an aspect of the Sixth Amendment right to effective assistance of

counsel.!®

        50.      Further, “Government violates the right to effective assistance when it

interferes in certain ways with the ability of counsel to make independent decisions

about how to conduct the defense.”"”

        51.      The Executive Order will interfere with this fundamental obligation of

lawyers because it will chill Perkins Coie and other law firms from representing

clients zealously and diligently, for fear of being branded pariahs by the federal

government.

        52.      Even if President Trump does not regard all representations adverse to

the Government, and all other representations adverse to him, his friends and family,

as “dangerous” and therefore punishable per se, the Executive Order demonstrates

that he may be offended by particular litigation arguments, strategies or tactics,

including those permitted by the rules and required as a matter of zealous advocacy.

As a result of the Executive Order, law firms will be governed in their legal

representations not only by professional conduct rules adopted and enforced by the


8 See,      e.g., Strickland v.         Washington,     466 U.S.      668   685    (1984)    (“The    Sixth
Amendment recognizes the right to the assistance        of counsel because it envisions  counsel’s playing
a role that is critical to the ability of the adversarial system to produce just results. An accused is
entitled to be assisted by an attorney, whether retained or appointed, who plays the role necessary
to ensure that the trial is fair.”).

'9 Td. at 686.

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courts, but by a fear of angering the President. Law firms seeking to avoid a similar

Executive Order will have an incentive to eschew “reasonably available means” to

advance their clients’ lawful objectives that the President may find objectionable.

        53.    This form of regulation by presidential whim, therefore, threatens to

undermine the judicial regulation that requires lawyers to represent clients’ zealously

and not to subordinate clients’ interests to lawyers’ own self-interest.               A law firm

that fails to pursue a client’s lawful objectives zealously and diligently out of concern

for losing other clients’ business would be prioritizing its own business interests in

violation of conflict-of-interest rules.*° Yet that appears to be the very outcome the

Executive Order would impose.           Whenever matters might come to the President’s

attention, the Executive Order creates a conflict between the client’s lawful interests

and the lawyers’ self-interest in avoiding offense to the President lest the federal

government take measures to destroy their law practices.

IV.     CONCLUSION

        54.    For foregoing      reasons    my     opinion    is that the Executive        Order    is

inconsistent with, and interferes with, settled understandings of the separation of

powers and, in particular, judicial regulation of the legal profession.


20 D.C, Rules, Rule 1.7(b)(4) (“A lawyer shall not represent a client with respect to a matter if...
the lawyer’s professional judgment on behalf of the client will be or reasonably may be affected
by... the lawyer’s own financial, business, property, or personal interests.”); id., Rule 1.7, cmt.
[11] (“The lawyer’s own interests      should     not be permitted   to have   an adverse   effect   on
representation of a client.”).

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                                               Bruce A. Green




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                             Fordham University School of Law
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                                  bgreen@law.fordham.edu


                                       Bar Admissions

New York State (since 1982)
U.S. District Courts for the Southern and Eastern Districts of New York
U.S. Supreme Court

                                          Education

Columbia University School of Law: J.D. 1981
     Honors: James Kent Scholar; Harlan Fiske Stone Scholar
     Associate Editor, Columbia Law Review

Princeton University: A.B. 1978, summa cum laude

                                 Current Legal Employment

Fordham University School of Law:
      Louis Stein Chair of Law, since 1997
      Professor, 1996-97; Associate Professor, 1987-96
      Director, Louis Stein Center for Law and Ethics, since 1997
      Director, Stein Center for Ethics and Public Interest Law, 1992-97

                             Prior Full-time Legal Employment

New York University School of Law: Visiting Professor: January-May 2007

Office of the United States Attorney for the Southern District of New York:
       October 1983 to August 1987, Assistant United States Attorney
       Deputy Chief Appellate Attorney, 1986-87; Chief Appellate Attorney, 1987

U.S. Supreme Court: Law clerk to Justice Thurgood Marshall, 1982-83

U.S. Court of Appeals for the Second Circuit: Law clerk to Judge James L. Oakes, 1981-82




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                                     Other Legal Positions

Departmental Disciplinary Committee, App. Div., 1st Department: Member, 1997-2002

New York City Conflicts of Interest Board: Member, Nov. 1995 to March 2005

Handschu Authority: Civilian member, July 1994 to Nov. 1995

Office of Investigations Officer (U.S. v. I.B.T.): Special Counsel (part-time), 1991

Office of Independent Counsel Lawrence Walsh, Associate Counsel (part-time), 1988-91

N.Y.S. Commission on Government Integrity: Consultant and special investigator, 1988-90

Columbia University School of Law: Adjunct Professor (part-time), 1990

Office of the United States Attorney for the Southern District of New York: Special
Assistant United States Attorney (part-time), September 1987 to June 1988

Fordham University School of Law: Adjunct Assoc. Professor (part-time), 1985-87




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                                    Professional Service

American Bar Association:
        Commission on the American Jury Project: member, 2006-2008
        Commission on Multijurisdictional Practice: reporter, 2000-2002
        Coordinating Group on Bioethics and the Law: member, 1997-2003
        Criminal Justice Section:
               Chair: 2010-2011
               Chair-elect: 2009-2010
               Council: member, 2011-2017
               Criminal Justice Standards Committee: chair, 2017-2021; member, 2013-2017
               Criminal Justice Standards Task Force on Victims, member, 2020-present
               First Vice Chair: 2008-2009
               Ethics, Gideon and Professionalism Committee: co-chair, 2006-09
        Death Penalty Representation Project: member, 2006-09, 2014-17
        Section of Individual Rights and Responsibilities:
               Chair, Committee on Privacy and Information Protection, 2014-15
        Section of Litigation:
               Task Force on Sound Advice, 2012-13
               Task Force on Implicit Bias: member, 2011-12
               Task Force on the Litigation Research Fund: Chair, 2007-2011
               Division VII (Task Forces): Co-Director, 2007-2008
               Council member, 2004-07
               Committee on Law Faculty Involvement: co-chair, 1998-2001, 2003-2004
               Civil Justice Institute: member, 2001-03
               Task Force on Ethical Guidelines for Settlement Negotiations: member, 2000-02
               Ethics 2000 Task Force: member, 1999-2000
               Committee on Ethics and Professionalism: co-chair, 1995-1998
               Task Force on the Independent Counsel Act: reporter, 1997-1999
               Rep. to Sec./Div. Committee on Professionalism and Ethics, 1996-2003
               Committee on Amicus Curiae Briefs: chair, 1991-1995
        Standing Committee on Ethics and Professional Responsibility: chair, August 2023 to
date; member, 2008-2011; liaison from the Criminal Justice Section, 2020-2023
        Standing Committee on Professionalism: reporter, 2000-2001
        Steering Committee for the Symposium on the Multijurisdictional Practice of Law:
reporter, 1999-2000
        Task Force on the Attorney-Client Privilege: reporter, 2004-2010
        Task Force on Law Schools and the Profession: consultant, 1991-92




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Association of American Law Schools: Chair, Section of Professional Responsibility, 1999-
2000

Criminal Law Bulletin: Contributing editor, 1988-1998

Evan B. Donaldson Adoption Institute: Ethics Advisory Committee: member, 1998-2001

Federal Bar Council:
      Board of Trustees, member, 2018 to present
      Second Circuit Courts Committee: member, 1994-1997; chair, Subcommittee on
Criminal Law and Ethics
      Federal Bar Council News: member of the Editorial Board, 1995-2005
      Inn of Court: master, 2000-2002

International Association of Legal Ethics: Treasurer, 2019-2022; Chair, Conference Planning
Advisory Committee, 2014-16; Director, 2010-13

Legal Ethics: Member of Advisory Board, 2008 to present

National Conference of Bar Examiners, MPRE Drafting Committee, Chair, 2018 to present;
Member, 2001-2018

New York City Bar:
      Committee on Professional and Judicial Ethics: chair, 2016-2020; member, 1994-1997,
2003-2006, 2015-16
      Litigation Funding Working Group: member, 2018-2020
      Executive Committee: member, 2010-14
      Working Group on the NYS Bar Exam: member, 2014
      White Collar Crime Committee: member, 2013-16
      Council on Criminal Justice: member, 2009-13
      Delegate to NYS Bar Association, 2003-07
      Nominating Committee: member, 2005
      Ethics 2000 Committee: member, 1999-2001
      Jt. Committee on the Legal Referral Service: chair, 1993-96; member, 1996-2000
      Committee on International Access to Justice: member,1999-2000
      Committee on Disaster Plan: member, 1996-1997
      Marden Lecture Committee: member, 1991-1994
      Criminal Law Committee: member, 1991-1994
      Task Force on Lawyer Training: member, 1992-1994
      Corrections Committee: member, 1988-1991




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New York County Lawyers’ Association:
     Director, 2004-2007, 2008-2012, 2013-2017
     Delegate to NYS Bar Association, 2009-2011
     Member, Committee on Professional Ethics, 2014 to present

New York State Bar Association:
     Committee on Professional Ethics: Chair, 1998-2001; member, 1991 to present
     Committee on Standards of Attorney Conduct: member, 1997 to present
     House of Delegates member, 2003-2007, 2009-2015
     Task Force on Attorney Client Privilege, 2006-2008
     Task Force on “Pay to Play” Concerns, member, 1998-2000

New York State Continuing Legal Education Board: Member, 2008-2011

New York State Task Force on Attorney Professionalism and Conduct: Member, 1996-1998


                                           Awards

Michael Franck Professional Responsibility Award, given by the ABA Center for Professional
Responsibility, May 31, 2018

Powell Pierpont Award, given by the N.Y.C. Conflicts of Interest Board “for outstanding service
to the New York City Conflicts of Interest Board,” May 23, 2006

New York State Bar Association Criminal Justice Section Award for “outstanding contribution
in the field of criminal law education,” Jan. 23, 2003

Sanford D. Levy Award, given by New York State Bar Association Committee on Professional
and Judicial Ethics, 1990




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Can Prosecutors’ Offices Preserve Public Confidence in Their Nonpartisanship – and, If So,
How?, Fordham L. Rev. 1177 (2025) (with Rebecca Roiphe)

Replacing This Old House: Certifying and Regulating New Legal Services Providers, 76 Wash.
U. J.L. & Pol’y 45 (2025) (with Ellen Murphy)

Public Confidence, Judges, and Politics On and Off the Bench, 87 Law & Contemp. Prob. 183
(2024) (with Rebecca Roiphe)

Judges in the 21st Century: Confidence Lost?, 87 Law & Contemp. Prob. I (2024) (with Leslie C.
Levin)

Good Lawyers, Good Sports?: The Professional Identity of Sports Lawyers Representing Not-
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Should State Trial Courts Become Laboratories of UPL Reform?, 92 Fordham L. Rev. 1285
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Foreword: The Legal Profession and Social Change, 92 Fordham L. Rev. 1239 (2024) (with
Atinuke O. Adediran)

Depoliticizing Federal Prosecution, 100 Denver L. Rev. 817 (2023) (with Rebecca Roiphe)

Should Prosecutors Be Expected to Rectify Wrongful Convictions?, 10 Tex. A&M L. Rev. 167
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Civil Justice at the Crossroads: Should Courts Authorize Nonlawyers to Practice Law?, 75
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justice-at-the-crossroads/

A Fiduciary Theory of Progressive Prosecution, 60 Am. Crim. L. Rev. 1431 (2023) (with
Rebecca Roiphe)

De-Weaponizing the Federal Government, Voting Rights & Democracy Forum, Feb. 28, 2023
(with Rebecca Roiphe), https://fordhamdemocracyproject.com/2023/02/28/de-weaponizing-the-
federal-government/

Why State Courts Should Authorize Non-Lawyers to Practice Law, Fordham Law Review, 91
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Can the Fourth Amendment Keep People “Secure in their Persons?”, 102 B.U. L. Rev. Online 92
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Lawyers and the Lies They Tell, 69 Wash. U. J. Law & Pol’y 37 (2022) (with Rebecca Roiphe)

Impeaching Legal Ethics, 49 Fla. St. Univ. L. Rev. 447 (2022) (with Rebecca Roiphe)

ABA Model Rule 8.4(g), Discriminatory Speech and the First Amendment, 50 Hofstra L. Rev.
543 (2022) (with Rebecca Roiphe)

Should Victims’ Views Influence Prosecutors’ Decisions?, 87 Brooklyn L. Rev. 1127 (2022)
(with Brandon P. Ruben)

Foreword: Subversive Lawyering, 90 Fordham L. Rev. 1945 (2022) (with Bennett Capers)

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Who Should Police Politicization of the DOJ?, 35 Notre Dame J. L. Ethics & Pub. Pol’y 671
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Mental Health and the Legal Profession: Foreword and Dedication, 89 Fordham L. Rev. 2415
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Technocapital@Biglaw.com, 18 Nw. J. Tech. & Intell. Prop. 265 (2021) (with Carole Silver)

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May Class Counsel Also Represent Lead Plaintiffs?, 72 Florida L. Rev. 1083 (2020) (with
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Victims’ Rights from a Restorative Perspective, 17 Ohio St. J. Crim. L. 293 (2020) (with Lara
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Restorative Justice from Prosecutors’ Perspective, 88 Fordham L. Rev. 2287 (2020) (with Lara
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The Supreme Court’s Supervisory Authority over Federal Criminal Cases: The Warren Court
Revolution That Might Have Been, 49 Stetson L. Rev. 241 (2020)

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Remembering Mary Daly: A Legal Ethicist Par Excellence, 83 St. John’s L. Rev. 23 (2009)

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“The U.S. Attorneys Scandal” and the Allocation of Prosecutorial Power, 69 Ohio St. L.J. 187
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Some Realism About Bar Associations, 57 DePaul L. Rev. 425 (2008) (with Elizabeth
Chambliss)

Criminal Defense Lawyering at the Edge – A Look Back, 36 Hofstra Law Rev. 353 (2007)

Teaching Lawyers Ethics, 51 St. Louis L.J. 1091 (2007)


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Taking Cues: Inferring Legality from Others’ Conduct, 75 Fordham L. Rev. 1429 (2006)
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Representing Children in Families – Foreword, 6 Nevada L. Rev. 571 (2006) (with Annette R.
Appell)

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Written by Himself, 19 Georgetown J. Legal Ethics 1221 (2006) (with Fred C. Zacharias)

Reconceptualizing Advocacy Ethics, 74 George Washington L. Rev. 1 (2005) (with Fred C.
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Privatized?: Questions of Judicial Ethics and Policy, 29 Fordham Urb. L.J. 941 (2002)

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Counselor” Given Way to the “Hired Gun”?, 51 DePaul L. Rev. 407 (2001)



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Why Should Prosecutors “Seek Justice”?, 26 Fordham Urb. L.J. 609 (1999)

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Terry & Lonnie S. Brown, Jr.)

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Pearce, Renee Newman Knake, Peter A. Joy, Sung Hui Kim, M. Ellen Murphy & Laurel S.
Terry)

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Daniel J. Capra)

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Editor, Government Ethics for the 1990’s: The Collected Reports of the New York State
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                                        Book Chapters

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Prosecution (Ronald W. Wright et al., ed. 2021)

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Third-Party Neutrals,” in The New York Rules of Professional Conduct: Rules and Commentary
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perspective/

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trump-about-ethics-1.12991254




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        Participation in Professional and Academic Programs (since January 2010)

Panelist, “Prosecutorial Ethics,” 2025 Stetson Law Review Symposium, Prosecutorial
Independence and White Collar Crime, Stetson Univ. College of Law, March 28, 2025

Discussant, Access to Justice Roundtable, Vanderbilt Law School, March 21, 2025

Presenter, “Brady Workshop,” Notre Dame Law School, Keough School of Global Affairs
Washington Office, Feb. 21, 2025

Moderator, “Restorative Justice in Practice: Perspectives from the Bench, Defense, and
Prosecution,” Symposium on Restorative Pathways: Reimagining Justice Reform for a Better
Tomorrow, Fordham Law School, Feb. 14, 2025

Co-speaker, “Using AI Ethically to Review Cases,” Conviction Integrity/Wrongful Convictions
Monthly Meeting & Training, Quattrone Center for the Fair Administration of Justice, Feb. 12,
2025 (online)

Co-panelist, “Hot Topics in Legal Ethics in 2025,” Federal Bar Council, Feb. 13, 2025

Co-speaker, “Is Criminal Justice About Truth?,” Ethics Breakfast Series, Dirah Brooklyn, Jan.
12, 2025

Presenter, “Court-Ordered Representation in Adjudication and Professional Discipline:
Mandatory Pro Bono as Payback,” Symposium, Beyond Mandatory Pro Bono: Compulsory
Lawyer Mechanisms in Access to Justice, National University of Singapore, Dec. 5, 2024
(online)

Panelist, “41st Annual Section 1983 Civil Rights Litigation,” PLI, Nov. 22, 2024

Speaker, “Everything You Ever Wanted to Know About Conflicts of Interest, But Were Afraid
to Ask,” District of Arizona Mandatory CJA Ethics Training, Oc5. 16, 2024 (online)

Panelist, “The Role of Lawyers in Defending Democracy,” Hofstra Law School, Sept. 27, 2024

Panelist, “Ethical Considerations for Corporate Investigations,” New York City Bar, Sept. 25,
2024

Presenter, “Challenges in the Regulation of Prosecutors: experiences and thoughts from the US,”
Center for Constitutional Studies of the Mexican Supreme Court of Justice (Centro de Estudios
Constitucionales de la Suprema Cort de Justicia de la Nacion), Mexico City, Mexico, Sept. 13,
2024




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Co-Presenter, “Replacing This Old House: Certifying and Regulating New Legal Services
Providers,” Symposium on New Frontiers in Attorney Regulation,” Washington Univ. (St.
Louis) School of Law, Sept. 6, 2024 (online)

Presenter, “Prosecutorial Independence,” Special Workshop on Research Handbook on the
Sociology of Legal Ethics, International Legal Ethics Conference 2024, Amsterdam, The
Netherlands, July 18, 2024

Panelist, “Lawyers Challenging the Rule of Law,” International Legal Ethics Conference 2024,
Amsterdam, The Netherlands, July 17, 2024

Moderator, “The Role of the Legal Profession in a Time of Crisis – Part 2: Democracy and
Insurrection,” online program co-sponsored by Hofstra Law’s Freedman Institute and Fordham
Law’s Stein Center for Law and Ethics, Apr. 11, 2024

Panelist, “This Just In! Annual Highlights from the ABA Center for Professional
Responsibility,” ABACLE webinar, Mar. 18, 2024

Panelist, “Cutting Edge Ethics Issues When Dealing With New Technologies,” NYSBA Dispute
Resolution Section, Mar. 5, 2024

Panelist, “Criticizing and Baiting Judges: The Limits of Aggressive Advocacy,” The Eastern
District Association, Brooklyn, NY, Feb. 16, 2024

Moderator, Panel on “the Movement Toward Democratizing the Law,” Symposium on “With
People Struggling and the Law Failing, What are the Solutions to the Access to Justice Crisis in
America?”, Fordham Law School, Feb. 9, 2024

Panelist, “Ethics for Mediators and Counsel,” 18th Annual Conference on International
Arbitration and Mediation, Fordham Law School, Nov. 17, 2023

Panelist, “Hot Topics in Ethics,” Federal Bar Council Fall Bench and Bar Retreat, Westbrook,
Connecticut, Nov. 5, 2023

Panelist, “Ethical Considerations for Corporate Investigations,” New York City Bar, Oct. 4, 2023

Panelist, “More than Sports: What Comes After NIL,” Texas A&M Schol of Law, Sept. 29, 2023

Presenter, “Prosecutorial Independence,” Research Committee on Sociology of Law Annual
Conference, Lund University, Sept. 1, 2023

Speaker and moderator, conference on “Oversight of prosecutorial decision making and
conduct,” Georgia State University School of Law, Aug. 18, 2023


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Panelist, “Lawyers Behaving Badly: Sanctions, Suspensions and General Shenanigans,” New
York Women’s Bar Ass’n, April 25, 2023

Panelist, “Ethical Challenges for Government Lawyers,” Denver Law Review Symposium on
The Watergate State, Denver Law School, Apr. 14, 2023

Moderator and discussant, “The Future of Prosecution,” Fordham Law School, March 3, 2023

Speaker, “Should Courts Authorize Nonlawyers to Practice Law?,” Access to Justice: 2023
Stanford Law Review Symposium, Stanford Law School, Feb. 10, 2023

Moderator, “Outside Counsel Guidelines: Fair or Foul?,” Association of Professional
Responsibility Lawyers 2023 Midyear Meeting, New Orleans, LA, Feb. 3, 2023

Panelist, “Ethics in Criminal Advocacy,” Federal Bar Council, Jan. 27, 2023

Panelist, “Witness Ethics: Avoiding the Minefields,” ABA Section of Litigation, Dec. 14, 2022

Panelist, “How new technologies are transforming the provision of legal services: analysis and
strategy,” Third Symposium on Technology, Legal Services, and Legal Education, Fordham Law
School, Dec. 9, 2022

Panelist, “The Latest Changes to New York’s Law of Lawyering,” NYS Bar Ass’n, Dec. 7, 2022

Panelist, “Ethics for Corporate Counsel 2022,” NYS Bar Ass’n Corporate Counsel Section, Nov.
3, 2022

Panelist, Symposium on Reform-Minded Prosecution, Georgetown Law School, Oct. 31, 2022

Panelist, Short Circuit Live in NYC, Institute for Justice, NY, NY, Oct. 30, 2022

Speaker, “Why State Courts Should Authorize Non-lawyers to Practice Law,” Stein Center
colloquium, Fordham Law School, Oct. 21, 2022

Speaker, “Should Prosecutors Be Expected to Rectify Wrongful Convictions?”, Texas A&M
Law School, Sept. 30, 2022

Panelist, “Ethical Considerations for Corporate Investigations: Views from All Sides,” NY City
Bar, Sept. 14, 2022

Panelist, “Conflicts of Interest: Evaluating the Current Framework,” International Legal Ethics
Conference IX, UCLA, Aug. 15, 2022



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Panelist and Chair, “Prosecution amid Political Contestation and Polarization,” International
Legal Ethics Conference IX, UCLA, Aug. 13, 2022

Speaker, “Cutting Edge Ethical Dilemmas in Criminal Defense,” NY County Defender Services,
July 12, 2022

Co-presenter, “A Progressive Theory of Progressive Prosecution,” Criminal Justice Ethics
Schmooze, NY Law School, June 10, 2022

Presenter, “Why State Courts Should Authorize Non-lawyers to Practice Law,” A2J Roundtable,
Fordham Law School, May 20, 2022

“Should You Have to Be a Lawyer to Do That?,” Howard Lichtenstein Distinguished
Professorship in Legal Ethics Lecture, Hofstra Law School, April 21, 2022

Moderator, panel on “Lawyering in Private: Privilege and Confidentiality – Sacred Protection or
Overused Cloak of Secrecy?,” Symposium on Lawyering for the President: Testing the Limits of
Ethics and Professionalism, University of Georgia School of Law (virtual), Feb. 25, 2022

Panelist, “Ethical Considerations for Corporate Investigations: Views from All Sides,” N.Y. City
Bar, Sept. 23, 2021

Moderator, “Lawyering in the DC Spotlight,” ABA National Conference on Professional
Responsibility, June 4, 2021

Co-moderator, “Ethical Issues in Crisis Lawyering,” Fordham Law School, March 16, 2021

Presenter, symposium on “The Ethics of Government Service,” Notre Dame Law School, Feb.
13, 2021

Panelist, “From Rudy Giuliani to Josh Hawley: What is the Role of Lawyer Discipline?,” Hofstra
Law School, Jan. 27, 2020

Panelist, Report by the Working Group on Litigation Funding, N.Y. City Bar, Jan. 26, 2020

Co-speaker, “Ethical Obligations in Misdemeanor Courts,” ABA Public Defense Summit, Jan.
22, 2020

Co-interviewee, “Prosecutorial Discretion: Police Killings and Sexual Abuse,” Talks on Law,
recorded Dec. 8, 2020, available at:: https://www.talksonlaw.com/talks/prosecutorial-discretion-
police-killings-and-sexual-abuse



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Panelist, “The Next 50: Looking to the Future of Criminal Justice Ethics,” Hofstra Law School,
Nov. 16, 2020

Moderator, “The Problem of Lawyers’ Mental Health in the Decade of the 2020s,” symposium
on Mental Health and the Legal Profession, Fordham Law School, Nov. 6, 2020

Panelist, “Lawyer Discipline and Executive Branch Lawyers,” Cardozo Law School, Oct. 29,
2020

Panelist, “Ethical Considerations for Corporate Investigations in the World of Covid-19,” N.Y.
City Bar, Sept. 17, 2020

Co-speaker, “CJS History: The History of the CJS Standards Project,” The JustPod, Aug. 20,
2020, https://www.buzzsprout.com/252350/4970960-cjs-history-the-history-of-the-cjs-standards-
project

Commenter, “Discussion Group: State Your Case: The Influence of State Court Decisions, Tribal
Courts, and State and Local Level Reforms on Criminal Practice,” Southeastern Association of
Law Schools 2020 Annual Conference, Aug. 3, 2020

Speaker, “Discussion Group: Prosecution: Implications of the Progressive Prosecution
Movement,” Southeastern Association of Law Schools 2020 Annual Conference, Aug. 2, 2020

Faculty, “Are Outside Counsel Guidelines a Threat to the Practice?,” ABA webinar, April 20,
2020

Co-speaker, “Ethical Issues in the Practice of the Attorney General’s Office,” Office of the NYS
Attorney General, Feb. 13, 2020

Panelist, “Ethical Considerations for Corporate Lawyers in 2020,” Cardozo Law School, Feb. 5,
2020

Panelist, “Achieving Access to Justice Through ADR: Fact or Fiction?,” Fordham Law School,
Nov. 1, 2019

Panelist, discussion of Lonnie T. Brown, Jr., Defending the Public’s Enemy: The Life and
Legacy of Ramsay Clark, University of Georgia School of Law, Oct. 3, 2019

Panelist, “Ethical Considerations for Corporate Investigations: Views from All Sides,” N.Y. City
Bar, Sept. 18, 2019




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Moderator, “Risky Business: The Mueller Minefield and Ethical Dilemmas for Lawyers
Involved in Government Investigations,” ABA 2019 Annual Meeting, San Francisco, California,
Aug. 9, 2019

Panelist, “‘Less fast, Less Furious’?: Protecting Clients & the Public in an Era of Regulatory
Reform,” Association of Professional Responsibility Lawyers 2019 Annual Meeting, San
Francisco, California, Aug. 9, 2019

Moderator, “Discussion Group: A 2020 Vision of Criminal Prosecution and Defense,”
Southeastern Association of Law Schools 2019 Annual Conference, Boca Raton, Florida, July
30, 2019

Speaker, “Discussion Group: Vulnerable People, Fragile Rights, Criminal Justice,” Southeastern
Association of Law Schools 2019 Annual Conference, Boca Raton, Florida, July 28, 2019

Presenter, Legal Ethics and Fiduciaries Workshop, Kylemore Abbey Global Center, University
of Notre Dame, Connemara, County Galway, Ireland, June 20-21, 2019

Moderator, “Hard Legal Ethics Questions – How to Resolve Them or, Even Better, Avoid
Them,” NY City Bar, May 16, 2019

Panelist, “Litigators and Witnesses: Ethical Considerations and Limitations,” NELA/NY Spring
Conference, NY, NY, May 10, 2019

Panelist, “Conversations on the Warren Court’s Impact on Criminal Justice – After 50 Years,”
Stetson University College of Law, April 5, 2019

Co-panelist, “Legal Ethics and Professional Responsibility,” Legal Issues in Museum
Administration 2019, ALI-CLE, Washington, DC

Speaker, “Prosecutorial Discretion: The Difficulty and Necessity of Public Inquiry,” Symposium
on Discretion and Misconduct: Examining the Roles, Functions, and Duties of the Modern
Prosecutor, Penn State - Dickinson Law School, March 15, 2019

Panelist, “Avoiding Ethical Pitfalls in a Complicated Business Environment,” Cardozo Law
School, Feb. 27, 2019

Panelist, “Special Counsel Investigations and Legal Ethics,” Duquesne University School of
Law, Feb. 8, 2019

Speaker, “Current Developments in internal investigations in US Criminal Law and Procedure,”
Internal Investigations – Comparative Workshop on US, UK and German Law, House of
Finance, Goethe University, Frankfurt, Germany, Jan. 31, 2019


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Panelist, “The Ethical Obligations of a Lawyer to Learn the True Facts,” NYS Bar Ass’n Annual
Meeting, Jan. 15, 2019

Panelist, “Refresher Ethics: Steering Clear of Witness Minefields,” ABA Webinar, Dec. 18,
2018

Panelist, “The Ethics of Copyright Trolling (And More): A Game Show,” the Copyright Society
of America, NY, NY, Dec. 13, 2018

Panelist, “Ethics for Corporate Counsel,” NYSBA Corporate Counsel Section, NY, NY, Nov.
30, 2018

Co-presenter, “May Federal Prosecutors Take Direction from the President?,” Faculty workshop,
Rutgers Law School (Newark), Nov. 29, 2018

Moderator, “Lies, Damned Lies and ‘Alternative Facts,’” ABA Center for Professional
Responsibility, Webinar, Oct. 11, 2018

Panelist, “Ethical Considerations for Corporate Investigations: Views from All Sides,” N.Y. City
Bar, Oct. 4, 2018

Panelist, “Polish Your Ethics: Legal Sand Traps Trial Lawyers Should Avoid,” 2018 Annual
Meeting, American College of Trial Lawyers, New Orleans, Louisiana, Sept. 27, 2018

Discussant, “Discussion Group: The Ethics of Legal Education,” 2018 Annual Conference,
Southeastern Association of Law Schools, Ft. Lauderdale, Florida, August 9, 2018

Moderator, “Discussion Group: Judging – 50 Years After the Chicago Seven Trial,” al Defense,”
2018 Annual Conference, Southeastern Association of Law Schools, Ft. Lauderdale, Florida,
August 7, 2018

Discussant, “Discussion Group: Conversations on the Warren Court’s Impact on Criminal
Justice,” 2018 Annual Conference, Southeastern Association of Law Schools, Ft. Lauderdale,
Florida, August 6, 2018

Panelist, “Litigators’ Ethics CLE,” 2018 Second Circuit Judicial Conference, Saratoga Springs,
NY, June 14, 2018

Presenter, “More than a Stern Rebuke: A ‘Broken Windows’ Strategy for Judges Policing
Prosecutors,” Criminal Justice Ethics Schmooze, Brooklyn Law School, June 11, 2018




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Panelist, “Ethics of Working with Witnesses, ABA Webinar, recorded June 6 2018, to be aired
Aug. 15, 2018

Moderator, “Lies, Damned Lies and ‘Alternative Facts,’” 44th ABA National Conference on
Professional Responsibility, Louisville, Kentucky, May 31, 2018

Panelist, “Social Media: Legal, Ethical and Practical Considerations for Lawyers,” Federal Bar
Council, Bridgeport, Connecticut, May 21, 2018

Moderator, “An Ounce of Prevention: How to Reduce Liability, Disciplinary and Reputational
Risks, N.Y. City Bar, May 16, 2018

Panelist, “Ethics: Financing Mass Torts,” 2018 Drug & Medical Device Seminar, Defense
Research Institute, NY, NY, May 11, 2018

Presenter, “Professional Discipline of US Advocates,” Workshop on “Regulating Lawyers
Through Disciplinary Systems,” International Institute for the Sociology of Law, Oñati, Spain,
April 26, 2018

Panelist, “Sentencing Reform from the Bench: The Emerging Role of District Court Judges,”
NYU Annual Survey of American Law, NYU School of Law, March 26, 2018

Panelist, “Ethical Pitfalls and Pratfalls in Corporate Representations: Conflicts, Waivers, and
Common Interest and Joint Defense Agreements,” Cardozo Law School, March 7, 2018

Panelist, “Prying Eyes: Think Confidential and Privileged Client Information is Safe at the
Border: Think Again,” 32nd Annual National Institute on White Collar Crime, ABA, San Diego,
CA, March 2, 2018

Moderator, “Creating Groundbreaking Research on Neuroscience and Law,” conference on The
Future of Neuroscience and Law, Fordham Law School, Feb. 21, 2018

Panelist, Litigation Ethics and New Technology, Federal Bar Council 2018 Winter Bench & Bar
Conference, Nevis, Feb. 16, 2018

Speaker, “Love in the Time of Cholera or Ethics in the Time of Trump?,” McInerney Inn of
Court, U.S. Courthouse, SDNY, NY NY, Feb. 7, 2018

Panelist, “Whistleblowers, Reporting Up, and the Professional Rules of Ethics, NYS Bar Ass’n
Annual Meeting, NY, NY, Jan. 24, 2018

Co-chair and co-moderator, “Ethical Issues in Pro Bono Representation,” PLI, Dec. 14, 2017



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Organizer and commentator, “Regulation of Legal and Judicial Services Conference:
Comparative and International Perspectives,” Stein Center for Law and Ethics, Fordham Law
School, Dec. 8-9, 2017

Panelist, “Ethics in Legal Practice: An Update and Review of Recent Ethics Opinions in 2017,”
NYS Bar Ass’n, Albany, NY, Dec. 6, 2017

Moderator, “Ethics and Criminal Justice Hypotheticals,” Appellate Division, Third Department,
Albany, NY, Oct. 31, 2017

Panel moderator, “Access to Justice and the Legal Profession in an Era of Contracting Civil
Liability,” Fordham Law School, Oct. 27, 2017

Panelist, “The Death of Conflicts,” Federal Bar Council Fall Bench & Bar Retreat, New Paltz,
NY, Oct. 22, 2013

Speaker, “The Right to Two Criminal Defense Lawyers,” Symposium on Disruptive Innovation
in Criminal Defense, Mercer University School of Law, Oct. 6, 2017

Panelist, “Ethical Considerations for Corporate Investigations: Views from All Sides,” N.Y. City
Bar, Sept. 27, 2017

Presenter, “Comparative Approaches to Regulation and Protection of Lawyers,” 2017 Seasonal
Meeting of the NYSBA International Section, Antigua, Guatemala, Sept. 14, 2017

Panelist, “Prying Eyes: Think Confidential and Privileged Client Information is Safe at the
Border? Guess Again.,” ABA CLE Showcase Program, ABA 2017 Annual Meeting, NY, NY,
Aug. 11, 2017

Panelist, “Defending the Public’s Enemy: The Journey of Ramsay Clark,” 2017 Annual
Conference, Southeastern Association of Law Schools, Boca Raton, Florida, August 3, 2017

Discussant, “Discussion Group: Reflections on the 2016 ABA Report on the Future of Legal
Services in the United States,” 2017 Annual Conference, Southeastern Association of Law
Schools, Boca Raton, Florida, August 3, 2017

Discussant, “Discussion Group: Incorporating Developments in Forensic Science and
Technology into the Criminal Justice System,” 2017 Annual Conference, Southeastern
Association of Law Schools, Boca Raton, Florida, August 2, 2017

Discussant, “Discussion Group: Criminal Justice and Technology: Changes in Law, Practice, and
Culture,” 2017 Annual Conference, Southeastern Association of Law Schools, Boca Raton,
Florida, August 1, 2017



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Moderator & organizer, “Discussion Group: Disruptive Innovation in Criminal Defense,” 2017
Annual Conference, Southeastern Association of Law Schools, Boca Raton, Florida, July 31,
2017

Co-presenter, “The President, the Department of Justice, and Prosecutorial Independence”
(work-in-progress), Legal Ethics Schmooze, UCLA, July 21, 2017

Panelist, “Ethics for OAG Lawyers,” Office of the NYS Attorney General, June 20, 2017
Moderator, “A Difference of Opinion: Federal-State Conflict in Lawyer Ethics Matters,” ABA
43rd National Conference on Professional Responsibility, St. Louis, Missouri, June 2, 2017

Presenter, work-in-progress, “Academic Scholarship Roundtable,” ABA 43rd National
Conference on Professional Responsibility, St. Louis, Missouri, June 2, 2017

Presenter on Legal Ethics, Office of the Public Defender, Tel Aviv, Israel, May 22, 2017

“Candor to the Court and Client,” Annual Lecture on Legal Ethics, The David Weiner Center for
Lawyers’ Ethics and Professional Responsibility, The Haim Striks School of Law - The College
of Management and Academic Studies, Rishon LeZion, Israel, May 21, 2017

Moderator, “Ethical Issues in Criminal Defense and Prosecution: the Role of Rules, Standards,
Case Law and Professional Judgment,” ABA Criminal Justice Section Spring Meeting, Jackson
Hole, Wyoming, May 5, 2017

Co-presenter, ethics training, Federal Defender - Eastern District of Pennsylvania, Philadelphia,
PA, May 2, 2017

Panelist, “Common Ground on Criminal Discovery and the Future of Brady v. Maryland, 2017
Spring Symposium: Finding Common Ground: Preventing Errors in Criminal Justice, Quattrone
Center for the Fair Administration of Justice, University of Pennsylvania Law School, April 21,
2017

Moderator, “Working Ethically with Non-Lawyer Professionals in Public Interest Settings,”
Fordham Law School, March 30, 2017

Panelist, “Ethical Considerations for the Business and Corporate Attorney,” Cardozo Law
School, March 7, 2017

Panelist, “Timely Ethics Issues: Interacting With Witnesses, Firm General Counsel,” 2017
Winter Bench & Bar Conference, Federal Bar Council, Palm Springs, California, Feb. 24, 2017




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Presenter, “The Challenges and Rewards of Teaching Legal Ethics,” 2017 Legal Ethics
Conference – New Challenges in Legal Ethics, California Western School of Law, Feb. 11, 2017

Presenter, Symposium, “Protect and Serve: Perspectives on 21st Century Policing,” Univ. of
Georgia School of Law, Jan. 27, 2017

Panelist, “The Attorney’s Role in Promoting a Strong Corporate Culture,” NYSBA Annual
Meeting, Business Law Section & Corporate Counsel Section, NY, NY, Jan. 25, 2017

Co-presenter, “Immigration Ethics,” Justice AmeriCorps Year 3 National Training, Potomac,
Maryland, Jan. 11, 2017
Co-chair and co-moderator, “Ethical Issues in Pro Bono Representation,” PLI, Dec. 15, 2016

Panelist, “Managing Your Client’s Image in the Court of Public Opinion,” NYCLA, Nov. 16,
2016

Panelist, “Wearing Two Hats as a Neutral and an Attorney: How to deal with inconsistent
mandates in the ethical codes for lawyers and neutrals,” NYSBA Dispute Resolution Section Fall
Meeting, NY Law School, Oct. 28, 2016

Co-panelist, “Ethical considerations when representing clients with, or defending actions brought
by individuals with, mental disabilities and impairments,” Disability Law Forum, N.Y. City Bar,
Oct. 13, 2016

Panelist, “Ethical Considerations for Corporate Investigations: Views from All Sides,” N.Y. City
Bar, Sept. 21, 2016

Moderator & organizer, “Discussion Group: Re-imagining the Ideal Role of Prosecutors,” 2016
Annual Conference, Southeastern Association of Law Schools, Amelia Island, Florida, August 6,
2016

Discussant, “The Future of Legal Ethics Scholarship: Are We in the End Days or Just Getting
Started?” 2016 Annual Conference, Southeastern Association of Law Schools, Amelia Island,
Florida, August 5, 2016

Organizer, The Ethics and Regulation of Lawyers Worldwide: Comparative and Interdisciplinary
Perspectives, Seventh biannual International Legal Ethics Conference, International Association
of Legal Ethics, New York, July 14-16, 2016

Co-presenter, “Rethinking Prosecutors’ Conflicts of Interest,” CrimFest, Cardozo Law School,
July 12, 2016




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Presenter, “The Price of Judicial Economy in the US,” Workshop on “Too Few Judges?
Regulating the Number of Judges in Society,” International Institute for the Sociology of Law,
Oñati, Spain, July 1, 2016

Panelist, “Corruption Scandals, the Panama Papers, and the Transnational Lawyer in Latin
America: Strengthening the Profession through Better Ethics Standards,” NY City Bar, June 6,
2016

Moderator, “The Decision-Making Conundrum When Representing a Child or Mentally
Impaired Adult,” ABA National Conference on Professional Responsibility, Philadelphia, PA,
June 3, 2016

Panelist, “Litigators’ Ethics: An Interactive Discussion of Problems of Confidentiality and
Disclosure,” 2016 Second Circuit Judicial Conference, Saratoga, NY, May 25, 2016
Moderator, “Ethics Gumbo: First You Make a Roux,” ABA National Legal Malpractice
Conference, New Orleans, Louisiana, April 28, 2016

Panelist, “Surveillance and the Attorney-Client Relationship: Recent International
Developments,” Seventh International Professional Responsibility Conference, Association for
Professional Responsibility Lawyers, Paris, France, April 13, 2016

Presenter, “Ethics in Class Actions: 2015-16 Update,” Institute for Law & Economic Policy,
22nd Annual Symposium, April 8, 2016, Miami Beach, Florida

Moderator, “Brandeis and Lawyering (II),” Conference on Louis D. Brandeis: An
Interdisciplinary Perspective, Touro Law Center, Mar. 31, 2016

Speaker, Georgetown Journal of Legal Ethics Symposium on “Remaining Ethical Lawyers in a
Changing Profession,” Georgetown Univ. Law Center, Mar. 18, 2016

Panelist, “Current Issues in Corporate Representation,” Cardozo Law School, Feb. 9, 2016

Panelist, “Watch Out Below! Avoiding Ethical Pitfalls in Class Action Litigation,” NYSBA
Antitrust Law Section, Annual Meeting, NY, NY, Jan. 28, 2016

Moderator, “Ethics in Criminal Practice, The Hardest Questions Today: A Conversation in
Honor of Monroe Freedman,” AALS Annual Conference, NY, NY, Jan. 7, 2016

Co-chair and co-moderator, “Ethical Issues in Pro Bono Representation,” PLI, Dec. 11, 2015

Panelist, “Social Responsibility of Corporations,” CJS Global White Collar Crime Institute,
ABA Criminal Justice Section & KoGuan Law School, Shanghai, China, Nov. 20, 2015



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Presenter & Facilitator, Professional Responsibility and Ethics in the Global Legal Market,
Moscow State University Law School, Moscow, Russia, Oct. 28-31, 2015

Panelist, “What Line? Reining in Prosecutorial Excesses: The Ethics and Strategy of
Negotiations,” NACDL’s 11th Annual White Collar Crime Seminar, Fordham Law School, Oct.
22, 2015

Panelist, “Ethical Considerations for Corporate Investigations: Views from All Sides,” N.Y. City
Bar, Sept. 11, 2015

Discussant, “Keeping the Conversation Going on Intractable Problems in the Criminal Justice
System,” 2015 Annual Conference, Southeastern Association of Law Schools, Boca Raton,
Florida, August 1, 2015

Commentator, “Defense Attorneys,” CrimFest 2015, Cardozo Law School, July 20, 2015
Presenter, “Rethinking Prosecutors’ Conflicts of Interest,” 2015 Legal Ethics Schmooze,
Stanford Law School, June 25, 2015

Moderator, “Attorney Privilege and Work Product,” New York State-Federal Judicial Counsel &
the Second Circuit Judicial Counsel, Brooklyn, NY, June 18, 2015

Moderator, “Ethics and Corporate Social Responsibility,” Corporate Social Responsibility
Leadership Course, Fordham Law School, June 11, 2015

Organizer, moderator and presenter, “Criminal Justice Ethics Schmooze,” Fordham Law School
June 8-9, 2015

Moderator, “Ineffective Assistance of Counsel and Forensic Evidence,” 6th Annual Prescription
for Criminal Justice Forensics, ABA Criminal Justice Section & Louis Stein Center for Law and
Ethics, Fordham Law School, June 5, 2015

Panelist, “Ethics and Professionalism: Best Practices for Attorneys,” N.Y. City Bar, May 18,
2015

Panelist, “Ethical Issues in FCPA Compliance & Investigations,” Practical Advice from the
Front Lines,” Fordham Law School, May 12, 2015

Panelist, “Negotiation Ethics: Pitfalls and Rules,” NYSBA Committee on Women in the Law,
NYC, May 5, 2015

Speaker, Conference on “Reconsidering Access to Justice,” Texas A&M Law School, May 1,
2015




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Co-interviewee, “The Power of the Prosecutor,” Talks on Law, recorded April 22, 2015,
available at: http://www.talksonlaw.com/talks/26

Moderator, Panel discussion: Thurgood Marshall’s Legacy, NYCLA, April 15, 2015

Moderator, “Hot Topics: Ethical Issues in Public Interest Lawyering,” Fordham Law School,
March 31, 2015

Speaker, “Lawyers as Lovers: Are We Romanticizing the Lawyer-Client Relationship?,”
Conference on Billy Joel & the Law, Touro Law School, March 22, 2015

Moderator, “Ethical Issues in Insurance Law: 2015 Update,” NYCLA, March 18, 2015

Panelist, “Developments in Ethics for Antitrust Lawyers,” ABA teleseminar, Feb. 24, 2015

Presenter, “Prosecutorial Accountability in the Information Age” (work-in-progress), faculty
workshop, Notre Dame Law School, Feb. 21, 2015

Panelist, “The Ethics of Conflicts of Interest,” Clifford Law Offices Continuing Legal Education
Program, Chicago, IL, Feb. 20, 2015

Panelist, “Current Ethical Issues in Corporate Representation,” Cardozo Law School, Feb. 11,
2015

Panelist, “The Ethical Minefields of Witnesses: A Refresher,” ABA Webinar, Dec. 19, 2014

Co-chair and co-moderator, “Ethical Issues in Pro Bono Representation,” PLI, Dec. 16, 2014

Panelist, “Ethical Considerations for Corporate Investigations: Views from All Sides,” N.Y. City
Bar, Sept. 30, 2014

Panelist, “Taz, Morality & Ethics,” The Taslitz Galaxy: A Gathering of Scholars at Howard,
Howard University School of Law, Sept. 19, 2014

Panelist, “Supreme Court Update and Other Notable Developments in Criminal Law,”
Southeastern White Collar Crime Institute, ABA Criminal Justice Section, Braselton, Georgia,
Sept. 12, 2014

Co-presenter, “Regulation of U.S. Prosecutors in the Information Age,” International Legal
Ethics Conference VI, London, England, July 11, 2014




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Presenter, “Reforming the regulation of the prosecutors: A slightly comparative perspective,”
Conference of the International Working Group for Comparative Studies of the Legal
Professions, Frauenchiemsee, Germany, July 7, 2014

Panelist, “International Ethics,” Ninth Annual Fordham Law School Conference on International
Arbitration and Mediation,” June 12, 2014

Panelist, “Fifth Annual Prescription for Criminal Justice Forensics,” ABA Criminal Justice
Section, NY, NY, June 6, 2014

Panelist, “Ethics of Working With Witnesses,” Professional Education Broadcast Network, May
16, 2014

Panelist, “Plenary: Twenty Years After the MacCrate Report: Revisiting the Continuum,” NCBE
Annual Admissions Conference, Seattle, WA, May 3, 2014

Moderator, “Conflicts: The Basics and Recent Developments,” Ethics for In-House Counsel:
New Developments & Future Challenges, Fordham Law School, March 20, 2014

Panelist, “Race and Access to Justice,” Georgetown Univ. Law Center, Washington, D.C.,
March 18, 2014

Co-speaker, “Professional Ethics for Public Interest Lawyers,” Brennan Center for Social Justice,
NY, NY, Feb. 28, 2014

Panelist, “Attorney Client Privilege and Selective Waiver in Bank Regulation,” Cardozo Law
School, Feb. 24, 2014

Panelist, “Who Are They to Judge? Ethical and Professionalism Issues Facing the Bench,” 1tth
Annual Legal Ethics & Professionalism Symposium, Univ. of Georgia Law School, Feb. 21,
2014

Panelist, “Bridge the Gap” C.L.E. Orientation Program, Committee on Character & Fitness
(Supreme Court, Appellate Division, First Judicial Department), NYCLA, Feb. 19, 2014

Moderator, “Ethical Choices in Dealing with Crime Victims: What is a Prosecutor, Defender and
Judge to Do?,” 2014 ABA Midyear Meeting, Chicago, IL, Feb. 7, 2014

Panelist, “Stop, Frisk & Judicial Independence: An Ethics CLE,” NY Chapters of the Puerto
Rican Bar, Federal Bar and National Bar Associations, U.S. Courthouse, NY, NY, Jan. 8, 2014

Commentator, “The Lost Lawyer and the Lawyer-Statesman Ideal: A Generation Later – the
Shifting Sands of Professional Identity,” AALS Annual Meeting, NY, NY, Jan. 4, 2014



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Co-presenter, Workshop on Prosecutorial Ethics, Hitotsubashi Univ., Tokyo, Japan, Dec. 18,
2013

Co-presenter, Workshop on Prosecutorial Ethics, Japan Federation of Bar Associations, Tokyo,
Japan, Dec. 17, 2013

Presenter, “Comparing the Honesty and Candor Obligations of U.S. Prosecutors and Defense
Lawyers,” Chukyo Univ., Nagoya, Japan, Dec. 16, 2013

Moderator, panel on “Unbundled Legal Services,” “Until Civil Gideon: Expanding Access to
Civil Justice,” Fordham Law School, Nov. 1, 2013

Moderator, “Ripped from the Headlines,” 9th Annual White Collar Seminar, NACDL,
Washington, D.C., Oct. 24, 2013

Panelist, Federal Criminal Practice Institute, New York County Lawyers’ Association, Oct. 19,
2013

Panelist, “Ethical Considerations for Corporate Investigations: Views from All Sides,”
Association of the Bar of the City of New York, Sept. 25, 2013

Moderator, “Criminal Discovery Under Brady v. Maryland: Current Developments, Association
of the Bar of the City of New York, Sept. 19, 2013

Moderator, “Navigating the Ethical Challenges in Counseling Unaccompanied Minors,” DCS
Legal Access Project Managers’ Meeting, Vera Institute of Justice, July 31, 2013

Presenter, Ethics Workshop, Annual Capital Defense Training Program, New York City Bar,
July 15, 2013

Panelist, “Culpability and White Collar Crime,” 2013 AALS Midyear Meeting, San Diego, CA,
June 10, 2013

Panelist, “The Ethics of Sub-Prime Lending,” conference on The Mortgage Crisis–Five Years
Later, Coalition for Debtor Education, Fordham Law School, June 3, 2013

Moderator, “Prosecutors’ Ethical and Professional Decision Making – Is it Unique?,” 39th ABA
National Conference on Professional Responsibility, San Antonio, TX, May 30, 2013

Co-presenter, “Hot Topics in Legal Ethics,” Fordham Law School, May 20, 2013

Panelist, “Criminal Law and Ethics,” NYCLA, April 23, 2013


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Panelist, “Religion and the Practice of Law,” 2013 Conference on Religious Legal Theory,
Touro Law Center, April 11, 2013

Commentator, Conference on “The Ethical Infrastructure and Culture of Law Firms,” Hofstra
Law School, April 5, 2013

Presenter, “The Gideon Effect: Rights, Justice and Lawyers Fifth Years After Gideon v.
Wainwright,” Yale Law Journal Symposium, Yale Law School, March 9, 2013

Panelist, “Complying with Brady and Strategies for Defense Counsel,” 27th Annual National
Institute on White Collar Crime, Las Vegas, Nevada, March 8, 2013

Panelist, “Ethics in White Collar Cases,” 27th Annual National Institute on White Collar Crime,
Las Vegas, Nevada, March 7, 2013

Presenter, “Imagining Plea Bargaining Without Competent Counsel: Justice Scalia’s Pursuit of
Less Perfect Justice,” conference on Plea Bargaining After Lafler and Frye, Duquesne Univ.
School of Law, March 1, 2013

Moderator, “The Business and Ethics of Managing a 21st Century Law Firm: New, Smart and
Ethical Business Models,” Fordham Law School, Feb. 26, 2013

Panelist, “Representing Financial Institutions and their Employees in SEC Enforcement
Actions,” ABA Section of Business Law, White Collar Crime Committee, NY, NY, Feb. 13,
2012

Speaker, “New Developments in Attorney-Client Privilege,” AALS 2013 Annual Meeting, New
Orleans, LA, Jan. 5, 2013

Chair and moderator, “Ethical Issues in Pro Bono Representation 2012,” PLI, Dec. 18, 2012

Panelist, “Ethical Issues for the Modern Day Prosecutor,” Kings County District Attorney’s
Office, Nov. 20, 2012

Panelist, “Navigating Ethical Waters: Obstruction of Justice, Destruction of Evidence and False
Statements,” 8th Annual White-Collar Seminar, NACDL, Fordham Law School, NY, NY, Nov.
15, 2012

Lecture, “Lawyers’ Professional Independence: Overrated or Undervalued?,” Miller-Becker
Center for Professional Responsibility Distinguished Lecture Series, Akron Law School, Nov. 9,
2012




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Speaker, “Federal Criminal Discovery Reform: A Legislative Approach,” symposium on
Defining and Enforcing the Federal Prosecutor’s Duty to Disclose Exculpatory Information, the
13th Annual Georgia Symposium on Ethics and Professionalism, Mercer Law School, Oct. 5,
2012

Moderator, “Ethical Issues for Criminal Practitioners,” National Law Journal/Legal Times &
Fordham Law School, recorded webinar broadcast on Oct. 2, 2012

Panelist, “Ethical Considerations for Corporate Investigations: Updates 2012,” Association of
the Bar of the City of New York, Sept. 12, 2012

Speaker, “Lawyers’ Professional Independence: Is it undervalued or overrated?,” International
Legal Ethics Conference V, Banff, Alberta, July 13, 2012

Panelist, “Law Without Walls,” International Legal Ethics Conference V, Banff, Alberta, July
13, 2012

Presenter, “Ethical Practice in the Criminal Justice System: Finding Common Ground,” National
Institute for Teaching Ethics & Professionalism, Seattle, WA, June 22-24, 2012

Panelist, “Parallel Proceedings: Emerging Issues & Best Practices,” Association of the Bar of the
City of New York, June 13, 2012

Presenter, “Rehabilitating Lawyers: Perceptions of Deviance and Its Cures in the Lawyer
Disciplinary Process,” 2012 International Conference on Law & Society, Honolulu, HA, June 5,
2012

Panelist, “So You Think You’re Up-to-Date on Attorney Client Privilege & Confidentiality,”
38th ABA National Conference on Professional Responsibility, Boston, MA, June 1, 2012

Panelist, “Conflicts in the Face of Corporate Representations and Government Investigative
Techniques,” 1st Annual White Collar Crime Institute, Association of the Bar of the City of
New York, May 14, 2012

Panelist, “Conflicts and Choice of Law Updates,” Professional Responsibility and Legal Ethics:
Exploring the Similarities and the Differences Across Legal Systems, Association of
Professional Responsibility Lawyers International Conference, Istanbul, Turkey, May 4, 2012

Co-speaker, “Rehabilitating Lawyers: Perceptions of Deviance and its Cures in the Lawyer
Reinstatement Process,” The Law: Business or Profession? - The Continuing Relevance of Julius
Henry Cohen for the Practice of Law in the Twenty-First Century, Fordham Law School, April
24, 2012



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Speaker, “The Flood of U.S. Lawyers: Natural Fluctuation or Professional Climate Change?,”
Too Many Lawyers? - Facts, Reasons, Consequences, and Solutions, International Institute for
the Sociology of Law, Oñati, Spain, April 20, 2012

Presenter, “Prosecutors and Professional Regulation,” faculty workshop, Fordham Law School,
March 22, 2012

Speaker, “Ethics,” Counseling Clients in the Entertainment Industry 2012, PLI, March 12, 2012

Panelist, “Ethics for Government Lawyers 2012,” PLI, March 9, 2012

Speaker, “Ethics for Government Lawyers,” U.S. Environmental Protection Agency, Region 2,
Office of Regional Counsel, March 8, 2012

Moderator, “Top Ten Reasons You’ll Wish You had Become a Trust & Estates Lawyer: Ethical
Pitfalls and Blunders in White Collar Practice,” 26th National Institute on White Collar Crime,
ABA, Miami, Florida, March 1, 2012

Panelist, “Developments in Ethics for Antitrust Lawyers,” live webinar and teleconference, ABA
Section of Antitrust Law, Feb. 16, 2012

Panelist, “Prosecutorial Accountability in the Post-Connick v. Thompson Era: Reforms and
Solutions,” ABA Death Penalty Representation Project et al., New Orleans, Louisiana, Feb. 4,
2012

Speaker, “Ethical Issues in Federal Practice,” Current Developments in Federal Civil Practice
2012, PLI, Feb. 1, 2012

Panelist, “Technology in Your Practice - Trends, Tools and Ethics Rules,” NYSBA Annual
Meeting, Jan. 26, 2012

Panelist, “Rules of Professional Conduct and the Government Lawyer,” NYSBA Annual
Meeting, Jan. 24, 2012

Panelist, “Ethical Considerations in Setting Attorney Fees,” NYSBA Annual Meeting, Jan. 24,
2012

Speaker, “Government Lawyering,” 2012 Annual Meeting, AALS, Washington, D.C., Jan. 5,
2012

Chair and moderator, “Ethical Issues in Pro Bono Representation 2010,” PLI, Dec. 21, 2010




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Panelist, “Ethical Issues with Group Representation,” LEAP conference on Civil Justice as
bedrock value in Difficult Times, Nov. 29, 2011

Panelist, “The Watergate CLE,” U.S. District Court - EDNY, Nov. 15, 2011

Panelist, “Future Ethics: Who Will Regulate Lawyers in 2020?,” New York Law School, Nov.
14, 2011

Panelist, “Community Prosecution & Community Defense,” Wake Forest Univ. School of Law,
Nov. 4, 2011

Panelist, “Multi-jurisdictional rules of ethics and professional conduct: Coping with conflicting
legal rules and privileges in a global business environment,” German-American Lawyers’
Association, NY, Oct. 25, 2011

Panelist, “What to Do? Has the Potential Client (Who Will Not Disclose) Intentionally
Misrepresented?”, Working Group on Legal Opinions Fall 2011 Seminar, NY, Oct. 25, 2011

Panelist, “Sentencing Advocacy,” 2011 Federal Criminal Practice Institute, NYCLA, Oct. 15,
2011

Moderator, “Representing Clients With Diminished Capacity,” Association of the Bar of the City
of New York, Oct. 13, 2011

Moderator, “The ABCs of D-efense in an E-lectronic Age: Ethics and Strategies,” 7th Annual
White Collar Seminar, NACDL, Fordham Law School, Sept. 22, 2011

Panelist, “Ethical Considerations for Corporate Investigations: Updates 2011,” Association of
the Bar of the City of New York, Sept. 15, 2011

Panelist, “Alternative Litigation Financing: A New Way to Help Pay for Lawsuits and Stay Out
of Trouble While Doing It,” NYCLA, Sept. 14, 2011

Panelist, “The Ethical and Practical Challenges of Representing a Controversial Client,” Federal
Bar Council & Stein Center, E.D.N.Y. federal courthouse, June 29, 2011

Panelist, “What is Good Lawyering?,” Conference on Padilla and the Future of the Defense
Function, NACDL, Cardozo Law School, June 20, 2011

Luncheon speaker, “Staying Ahead of the Curve: What Every Criminal Defense Lawyer Needs
to Know,” NYSBA, Albany, NY, June 17, 2011

Panelist, “Tackling Ethical Issues Arising in Criminal Cases,” NYCLA, June 16, 2011


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Panelist, “Third Party Funding of International Arbitration Claims: The Newest ‘New New
Thing,’” NYSBA Dispute Resolution Section & Fordham Law School ADR and Conflict
Resolution Program, June 15, 2011

Panelist, “How the Rules of Professional Conduct Apply to Government Lawyers,” Seventeenth
Annual Seminar on Ethics in New York City Government, NYC COIB & Center for New York
City Law, New York Law School, May 17, 2011

Panelist, “Hypothetically Speaking II: Issues in the Attorney-Client Relationship under the Rules
of Professional Conduct,” Association of the Bar of the City of New York, May 16, 2011

Moderator, “Ethics Update: Perspectives from the Federal and State Judiciary,” N.Y.S. Federal
Judicial Council - Advisory Group, E.D.N.Y. federal courthouse, May 11, 2011

Moderator, “Ethics Update: Perspectives from the Federal and State Judiciary,” N.Y.S. Federal
Judicial Council - Advisory Group, S.D.N.Y. federal courthouse, May 10, 2011

Panelist, “An Overview of Attorney Error: Malpractice, Breach of Ethical Rules and Ineffective
Assistance of Counsel,” Mental Hygiene Legal Service, May 3, 2011 (videotape)

Panelist, “The Top Five Ethical Violations and Resulting Claims for Legal Malpractice,” Spring
2011 National Legal Malpractice Conference, ABA Standing Committee on Lawyers’
Professional Liability, Boston, MA, April 28, 2011

Panelist, “Anatomy of a Trial: Young Lawyer Trial Skills Training,” ABA Section of Litigation
& Criminal Justice Section Annual CLE Conference,” Miami, Florida, April 14, 2011

Panelist, “Ethics,” IP Enforcement and Litigation 2011: Civil and Criminal Update, PLI, March
30, 2011

Panelist, “Ethical Implications of Legal Aid and Pro Se Assistance,” Legal Aid Society, March
18, 2011

Speaker, “Criminal Defense Ethics,” 25th Annual Metropolitan New York Trainer, NYS
Defenders Ass’n, March 12, 2011

Moderator, “Criminal Defense?: The Ethical and Legal Line Between Zealous Advocacy and
Obstruction of Justice ,” 25th National Institute on White Collar Crime, ABA Criminal Justice
Section, Mar. 3, 2011, San Diego, CA

Panelist, “2011 Ethical Issues,” 2011 Winter Bench & Bar Conference, Federal Bar Council, Los
Cabos, Mexico, Feb. 21, 2011



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Keynote Speaker, “Ted Schneyer’s Impact on Legal Ethics Scholarship,” The Ted Schneyer
Ethics Symposium: Lawyer Regulation for the 21st Century, Univ. Of Arizona, James E. Rogers
College of Law, Jan. 28, 2011

Panelist, “Ethical Pitfalls for Business Lawyers,” Business Law Section, NYSBA Annual
Meeting, Jan. 26, 2011

Co-speaker, “Legal Ethics & Professionalism,” Nineteenth Annual London MCLE Fair, CLE
Europe Limited, Jan. 15, 2011

Chair and moderator, “Ethical Issues in Pro Bono Representation 2010,” PLI, Dec. 21, 2010

Moderator, “Ethical and Privilege Issues for Pharmaceutical Whistleblowers Counsel,”
Institutional Investor Educational Foundation, New York, NY, Dec. 9. 2010

Moderator, program on ethics and professionalism in criminal prosecution and defense,
Multnomah County Courthouse, Portland, OR, Dec. 3, 2010

Panelist, “Ethics and the Construction Lawyer,” NYCLA, Nov. 30, 2010

Speaker, “Ethical Practices for the Modern Prosecutor,” Brooklyn District Attorney’s Office.
Oct. 26, 2010

Speaker, “Prosecutive Ethics,” annual conference, National Association of Former United States
Attorneys, Oct. 9, 2010

Moderator, “A Prosecutor’s Brady/Discovery Obligations For Production of Documents,” ABA
Criminal Justice Section White Collar Crime Mid-Atlantic Regional Committee, Widener Law
School, Wilmington, DE, Oct. 7, 2010

Panelist, “”Ethics and Litigation for Today’s Trial Counsel,” 2nd Annual Litigation Summit,
Oct. 6, 2010

Panelist, “Ethical Considerations for Corporate Investigations: Updates 2010,” Association of the
Bar of the City of New York, September 15, 2010
Panelist, “Hot Ethics Issues for Young Trial Lawyers (and the Young at Heart),” ABA
ANNUAL Meeting 2010, San Francisco, CA, August 7, 2010

Speaker, “Criminal; Defense Ethics,” New York State Defenders Association 43rd Annual
Meeting & Conference, Saratoga Springs, NY, July 27, 2010




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Panelist, “Lawyers in Context: Ethical Decision Making in Practice,” International Legal Ethics
Conference IV, Stanford Law School, July 17, 2010

Moderator, “Prosecutors and their Disclosure Duties: A Regulatory Conundrum,” 36rd National
Conference on Professional Responsibility, ABA, June 3, 2010

Panelist, “Hypothetically Speaking: Considering Issues for the Practitioner under the New Rules
of Professional Conduct,” Association of the Bar of the City of New York, May 17, 2010

Panelist, “Bloomberg Corporate Internal Investigations: Ethical Considerations Seminar 2010,”
Bloomberg, NY, March 11, 2010

Panelist, “Protecting the Attorney-Client Privilege and Attorney Work Product,” 24th Annual
National Institute on White Collar Crime, Miami, Florida, Feb. 25, 2010

Panelist, “Half a Century of Advice,” Committee on Professional Ethics, NYSBA Annual
Meeting, Jan. 29, 2010




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                 Exhibit B
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                       Cases in which Professor Bruce Green has testified
              as an expert at a deposition or before a tribunal in the past four years


Ad Astra Recovery Services, Inc. v. Heath et al., Case No. 18-1145-JWB-ADM, D. Kan., Nov.
   28, 2021 Hearing

Curtis James Jackson III v. Reed Smith LLP & Peter Raymond, Bankr. Ct., (D. Conn., New
   Haven Div., Case No. 17-02005 (AMN), July 18, 2022 Hearing

Halperin v. Arawak IX et al., Adv. Proc. Case No. 21-51412-BLS, Bankr. Ct., D. Del., Nov. 30,
   2022 Deposition

Becker Organization v. Sharp Office Holdings, LLC, Case No. ESX-L-1882-18, NJ Superior
   Court, Dec. 13, 2022 Deposition

Roche Freedman LLP v. Cyrulnik, Case No. 1:21-cv-01746-JGK (SDNY), March 14, 2023
   Deposition

Timothy Saunders v. John Q. Hamm, et al., Case No. 2:20-CV-00456-WKW-JTA, M.D. Ala.,
   May 9, 2023 Deposition

United States v. David Kapone Williams et al., Case No. 4:18-01695-JAS-EJM, D. Ariz., April
   24, 2024 Evidentiary Hearing
